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Daina Harper
Cypress, TX
harper.daina@yahoo.com
+1 832 758 5990

Administrative Manager and Child Development professional, with nearly 4 years of in field experience.
I have handled high stress environments, while maintaining responsibility for all document control for
in office reporting. Equipped from being a Collegiate and Professional athlete, I am willing to bring a
strong work ethic, positive attitude, and willingness to continue to grow and learn within any future
position.


Work Experience

Child Development Specialist & Case Manager
Harris Center for Mental Health & Idd
April 2022 to Present
· Provide early intervention services from infants to 3-year-olds
· Completed Service Coordination of needed specialized resources to assigned families
· Evaluate and assess children with developmental diagnoses and needs
· Manage large caseloads size from 30-60 caseloads at one time, requiring high level of time
management.
· Provide specialized skills training to implement strategies to use for developmental delays in children.
· Document visits in a timely manner while maintaining strict confidentially standards.
· Provide annual reviews, 6-month periodic reviews, and transition meetings/conferences before specific
deadlines.
· Conduct home and virtual visits for families to provide services and case management
· Use of EPIC system to schedule clients for monthly visits

Child Protective Services Investigator & Case Manager
Department of Family & Protective service
June 2021 to February 2022
· Ensure the Safety and Wellbeing of Children and Families against reported claims of abuse and neglect.
· Document child, adult, and alleged perpetrator interviews in various settings such as schools,
households, and jails.
· Manage large caseloads of families, up to 15-25 at a time.
· Conduct home visits to assess safety.
· Gather and obtain information to assess the safety of children and their caregivers to ensure a safe
and healthy environment.
· Make initial contact on child victims within a certain time frame to ensure their safety.
· Watch and document forensic interviews of children that have disclosed sexual or physical abuse.
· Provide help and assistance to team/unit members.
· Use IMPACT system to document visits

Registered Behavioral THerapist
Action Behavior Centers
February 2019 to June 2021
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· I help implement applied behavioral analysis and provide therapy to children diagnosed on the Autism
Spectrum to help increase and develop social and behavioral skills in a social setting.
· Communicates effectively in a group and team setting.
· Implement Behavioral Intervention Program provided by BCBA/BCABA
· Interact and debrief parents daily about upcoming treatment plans, daily progress, and future goals
that will be implemented for the future success of their children.
· Ability to remain HIPAA
· Within 6 months, gained the title of transitioning to a Behavioral therapist to a Registered Behavioral
Therapist.
· Created lesson plans in a teaching environment to help for children that were transitioning to school.

Professional Track & Field Athlete
United States of America Track & Field (USATF)
July 2017 to December 2018
· Competed internationally among the top female athletes in the world.
· Maintained drive and determination to obtain personal and team objectives and goals.
· Remained consistent and committed to keeping physicality in peak condition.
· Positively represented the United States of America when competing across the world.


Education

HIGH SCHOOL DIPLOMA
CYPRESS HIGH SCHOOL
2013

Bachelor of Science in PSYCHOLOGY
UNIVERSITY OF ARKANSAS


Skills
• Child Care & Development
• Experienced in HIPAA Law & Regulations
• Crisis Management
• Advanced MS Suite User
• IMPACT Software
• New Hire Training
• Scheduling & Event Coordination
• Strategic Planning
• EPIC Software
• Case Management
• Document Control
• Managed Confidential Information
• Environmental Safety
• Catalyst
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Links

http://linkedin.com/in/daina-harper-062392178


Certifications and Licenses

AED Certification

First Aid Certification

CPR Certification
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                       DAINA HARPER


                                                                                      August 7, 2023




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